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                        10   Netbula, LLC and
                             Dongxiao Yue
                        11

                        12                         UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA
                        13                               SAN JOSE DIVISION
                        14
                             DONGXIAO YUE and NETBULA,         )     CASE NO. CV 08-0019-JW
                        15   LLC,                              )
                                                               )     NOTICE AND MOTION FOR
                        16                        Plaintiffs,  )     EXPENSES AND ATTORNEYS'
                                                               )     FEES (F.R.Civ. Proc. 37(c) etc.)
                        17               v.                    )
                                                               )
                        18   CHORDIANT SOFTWARE, INC., et al. )      Hearing Date: July 19, 2010
                                                               )     Hearing Time: 9:00 am
                        19                                     )     Location: Courtroom 8
                                                  Defendant    )     Judge: Honorable James Ware
                        20   _________________________________ )
                        21

                        22

                        23

                        24

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                        28                                                                                                                                19, 21

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                        1                                       NOTICE OF MOTION
                        2                   PLEASE TAKE NOTICE THAT, on July 19, 2010, in Courtroom 8 on the
                        3
                             4th floor of the United States District Court, Northern District of California, San Jose
                        4
                             Division, located at 280 South 1st Street, San Jose, California, at 9:00 a.m. or as soon
                        5
                             thereafter as this matter may be heard, Plaintiffs Netbula, LLC and Dongxiao Yue will most
                        6

                        7    respectfully request this honorable Court to issue an order granting them expenses and

                        8    attorneys' fees incurred in proof of denied matters pursuant to F. R. Civ. Proc. Rule 37(c),
                        9    and, to the extent not available under that rule, pursuant to F. R. Civ. Proc. Rule 26(g), F. R.
                        10
                             Civ. Proc. Rule 11(c), and/or 28 U.S.C. § 1927.
                        11
                                                                  RELIEF SOUGHT
                        12
                                            Plaintiffs seek an order awarding them their attorneys' fees and costs for
                        13

                        14   certain efforts to prove certain matters denied by Chordiant in response to Requests for

                        15   Admission.
                        16                                  POINTS AND AUTHORITIES
                        17
                                    A.      Introduction.
                        18
                                            Early in discovery, Plaintiffs requested Chordiant to admit a number of
                        19
                             matters to establish that Chordiant did not have a license to copy Plaintiffs' Java product.
                        20

                        21   Chordiant denied those requests, and persisted in that denial until after trial had

                        22   commenced, causing Plaintiffs to reasonably expend large amounts of attorney time

                        23   preparing to prove that Chordiant did not have such a license.
                        24
                                            Late in discovery, Plaintiffs requested Chordiant to admit a number of other
                        25
                             critical facts, that Chordiant also denied, causing Plaintiffs to reasonably expend additional
                        26
 ANTONIO L. CORTÉS
                             amounts of attorney time preparing to prove that Chordiant did not have such a license.
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                        1                   Plaintiffs should be compensated for those unfair denials, and the long hours
                        2    of attorney time those denials required Plaintiffs' counsel in devote to proving the matters
                        3
                             denied.
                        4
                                       B.   Applicable Standards.
                        5
                                            Under Rule 37, "If a party fails to admit what is requested under Rule 36 and
                        6

                        7    if the requesting party later proves . . . the matter true, the requesting party may move that

                        8    the party who failed to admit pay the reasonable expenses, including attorneys' fees,
                        9    incurred in making that proof." F. R. Civ. Proc. Rule 37(c)(2). "The court must so order"
                        10
                             unless the request was objectionable, the admission was of no substantial consequence, the
                        11
                             party failing to admit had a reasonable ground to believe the matter should not be admitted,
                        12
                             or there was other good reason for the failure to admit. id. [emphasis added]. To the extent
                        13

                        14   Chordiant may assert one of those exceptions to the otherwise-mandatory award, it would

                        15   have the burden of proving that assertion. Herrera v. Scully, 143 F.R.D. 545, 551
                        16   (S.D.N.Y. 1992) ("The burden of proof is on the Scully defendants to show that, at the time
                        17
                             they responded to the Request, they had good faith reasons to believe that they would
                        18
                             succeed in proving the falsity of the statements they denied therein.").
                        19
                                            Under Rule 26:
                        20

                        21                      Every . . . discovery request, response, or objection must be signed
                                                by at least one attorney of record . . . . By signing, an attorney or
                        22                      party certifies that to the best of the person's knowledge,
                                                information, and belief formed after a reasonable inquiry: . . . (B)
                        23                      with respect to a discovery request, response, or objection, it is: . . .
                                                (ii) not interposed for any improper purpose, such as to harass,
                        24
                                                cause unnecessary delay, or needlessly increase the cost of
                        25                      litigation; and (iii) neither unreasonable nor unduly burdensome or
                                                expensive, considering the needs of the case, prior discovery in the
                        26                      case, the amount in controversy, and the importance of the issues at
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                                                stake in the action.
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                        1    F. R. Civ. Proc. Rule 26(g) [emphasis added].
                        2                   Under 28 U.S.C. § 1927, "Any attorney or other person admitted to conduct
                        3
                             cases in any court of the United States or any Territory thereof who so multiplies the
                        4
                             proceedings in any case unreasonably and vexatiously may be required by the court to
                        5
                             satisfy personally the excess costs, expenses, and attorneys' fees reasonably incurred
                        6

                        7    because of such conduct."

                        8                   Under Rule 11, "If, after notice and a reasonable opportunity to respond, the

                        9    court determines that Rule 11(b) has been violated, the court may impose an appropriate
                        10
                             sanction on any attorney, law firm, or party that violated the rule or is responsible for the
                        11
                             violation. Absent exceptional circumstances, a law firm must be held jointly responsible for
                        12
                             a violation committed by its partner, associate, or employee" F. R. Civ. Proc. Rule 11(c).
                        13

                        14   "[R]esponses to requests for admission come within meaning of 'pleading, motion, and

                        15   other paper,'" and "a false answer to request to admit may result in imposition of sanctions

                        16   under either or both Rule 11 and Rule 37(c)." A & V Fishing, Inc., v. Home Ins. Co., 145
                        17
                             F.R.D. 285, 287-288, 24 F. Rules Serv. 3d 1475 (D. Mass 1993).
                        18
                                    C.      The Cost to Plaintiffs of Chordiant's Unfair Denials and Their Effect on
                        19                  Plaintiffs.

                        20                  Plaintiffs seek the following costs of proof for the following failures to admit
                        21   for the following reasons:
                        22

                        23                  1.      Chordiant's Failure to Admit Request Nos. 18, 19, 20, 21, and 22.

                        24                  Plaintiff's originally sued Chordiant for infringement of its Windows
                        25   product. Chordiant sought and obtained an early restriction on the discovery Plaintiffs
                        26
                             would be allowed to take. [Docket 97] Immediately after Plaintiffs' May 3, 2009 motion to
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                        1    lift that restriction [Docket 132], Chordiant revealed that it was also copying Plaintiffs' Java
                        2    work.1 Finding no record of any license for Plaintiff's Java product to Chordiant or any of
                        3
                             its subsidiaries or affiliated companies, on June 1, 2009, Plaintiffs served a short series of
                        4
                             five requests for admission requesting Chordiant to admit that no such license existed.
                        5
                             Plaintiffs were entitled to do that to avoid unnecessary expense of proving issues known to
                        6

                        7    the parties to be true.2 Specifically, Plaintiffs requested Chordiant to admit that:

                        8                       18. CSI has never purchased any license for using, copying and
                                                    distributing JRPC.
                        9
                                                19. CSIL has never had a license for using, copying or distributing
                        10
                                                    JRPC software as a part of a Chordiant software product such as
                        11                          CMD.

                        12                      20. CSI has never had a license for using, copying, or distributing JRPC
                                                    software as a part of a Chordiant software product such as CMD.
                        13
                                                21. No license was impliedly granted by either Plaintiff to CSIL that
                        14                          would allow CSIL to develop or distribute JRPC as a part of a
                        15                          Chordiant software product such as CMD.

                        16                      22. No license for JRPC was impliedly granted by either Plaintiff to CSI
                                                    that would allow CSI to develop or distribute JRPC as a part of a
                        17                          Chordiant software product such as CMD.3
                        18                  Chordiant claimed it could neither admit nor deny the simple matter of
                        19   Request No. 18.4 Chordiant denied Request Nos. 19, 20, 21, 22, and 23.5 It made these
                        20
                             responses despite the purpose of Rule 36 to allow parties to proceed to trial without having
                        21
                             to seek, then marshal proof of, matters that would not be disputed at trial.
                        22

                        23
                             1       Declaration of Antonio L. Cortés Supporting Motion for Expenses and Attorneys'
                        24   Fees, filed herewith ("Cortés Declaration"), at ¶ 3, and Exhibit 1 thereto.
                             2       See, e.g., Loskot v. Dayton Hudson Corp., 2002 U.S. Dist. LEXIS 28182 (E.D. Cal.
                        25   2002), quoting Diederich v. Department of Army, 132 F.R.D. 614, 616 (S.D.N.Y 1990)
                             ("The 'purpose of [the] rule pertaining to requests for admissions is to expedite trial by
                        26   removing essentially undisputed issues, thereby avoiding time, trouble and expense which
                             otherwise would be required to prove issues.'")
 ANTONIO L. CORTÉS           3       Exhibit 2 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         4       Exhibit 3 to Cortés Declaration.
    (415) 256-1911
                             5       id.
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                        1                   Due to those failures to admit, Plaintiffs proceeded with the following
                        2    reasonable steps to obtain the evidence it would need to prove that Chordiant had no
                        3
                             express, implied, or assigned a license to copy Plaintiffs' Java product.
                        4
                                            On May 12, 2009, Plaintiffs had served Chordiant with Interrogatory No. 14
                        5
                             asking Chordiant to "Identify each and every person or entity, including but not limited to
                        6

                        7    any of your affiliated business entities, from which you contend you have obtained

                        8    authorization to use or copy Netbula’s JRPC Software." 6 On June 29, 2009, Chordiant
                        9    responded that "Chordiant, inclusive of Prime Response, has obtained authorization to use
                        10
                             or copy from Netbula, Don Yue, and/or third-parties operating web servers from which the
                        11
                             JavaRPC SDK has been accessible and downloadable via the Internet."7 On October 29,
                        12
                             2009, two days before close of discovery, Chordiant amended its response to state
                        13

                        14                      Chordiant holds a license to Netbula's JRPC SDK by and through its
                                                acquisition of Prime Response in or about March 27, 2001. Prime
                        15                      Response obtained authorization to use or copy from Netbula, Don
                                                Yue, and/or third-parties operating web servers from which the
                        16                      JavaRPC SDK has been accessible and downloadable via the
                        17                      Internet.8

                        18   In other words, Chordiant persisted with its denial of the proposition that it had license for

                        19   Plaintiffs' Java products (remaining vague as to how it obtained one), leaving Plaintiffs the

                        20   burdensome task of proving it did not.
                        21
                                            On June 1, 2009, Plaintiffs served Chordiant with Interrogatory No. 24
                        22
                             asking "Does CSI contend that it had a license to make the copies of Netbula’s JRPC
                        23
                             software (“JRPC”) it included in the Chordiant Marketing Director software (“CMD”)?";
                        24

                        25   Interrogatory No. 25 asking "If your answer to the foregoing Interrogatory No. 24 was

                        26
 ANTONIO L. CORTÉS           6      Exhibit 5 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         7      Exhibit 6 to Cortés Declaration.
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                             8      Exhibit 7 to Cortés Declaration.
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                        1    anything but an unqualified 'no,' state each and every fact that supports your not answering
                        2    that interrogatory with an unqualified 'no'"; Interrogatory No. 26 asking "Does CSI contend
                        3
                             that it had an implied license to make the copies of JRPC it included in CMD?"; and
                        4
                             Interrogatory No. 27 asking "If your answer to the foregoing Interrogatory No. 26 was
                        5
                             anything but an unqualified 'no,' state each and every fact that supports your not answering
                        6

                        7    that interrogatory with an unqualified 'no.'"9 On July 6, 2009 Chordiant responded to

                        8    Interrogatory Nos. 24 and 26 by saying "Yes"10 that it did have a license, and gave
                        9    explanations of those answers that did not indicate to Plaintiffs that Chordiant had
                        10
                             purchased a Java license. On August 7, 2009 Chordiant served amended answers and still
                        11
                             maintained its "Yes" answers indicating under oath that it had licenses for Netbula's Java
                        12
                             products.11 On October 20, 2009, just before close of discovery, Chordiant again served
                        13

                        14   amended answers that still maintained its "Yes" answers indicating that it had licenses for

                        15   Netbula's Java products,12 leaving Plaintiffs to prepare to prove otherwise at trial.
                        16                  On June 2, 2009 Plaintiffs served Chordiant with requests for production of
                        17
                             documents seeking:
                        18
                                                16. Each and every license you contend you possess that you contend
                        19                          entitles or has entitled you to use, copy, sublicense, transfer, or
                                                    distribute JRPC.
                        20
                                                17. Each and every cancelled check, bank account record, receipt, proof
                        21
                                                    of purchase, or other document that tends to prove that you paid
                        22                          Netbula for a license to use, copy, sublicense, transfer, or distribute
                                                    its JRPC.
                        23
                                                18. Each and every document you believe supports any contention you
                        24                          may have that you have or have had an implied license to use, copy,
                                                    sublicense, transfer, or distribute JRPC.
                        25

                        26
                             9      Exhibit 8 to Cortés Declaration.
 ANTONIO L. CORTÉS           10     Exhibit 9 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         11     Exhibit 10 to Cortés Declaration.
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                             12     Exhibit 11 to Cortés Declaration.
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                        1                      ...
                        2                      22. Each and every document you believe sets forth or otherwise
                                                  provides evidence of the terms of any implied license you contend
                        3
                                                  authorizes you to use, copy, sublicense, transfer, or distribute
                        4                         Netbula’s Software Developer’s Kit.

                        5                      23. Each and every document you believe sets forth or otherwise
                                                  provides evidence of the terms of any implied license you contend
                        6                         authorizes you to use, copy, sublicense, transfer, or distribute JRPC.13
                        7                   On July 6, 2009, Chordiant responded by saying it would produce "non-
                        8
                             privileged, relevant, responsive documents to the extent that such documents exist in
                        9
                             Chordiant's possession, custody or control and can be located after a search of reasonable
                        10
                             scope."14 Counsel spent 2.1 hours making those requests and considering Chordiant's
                        11

                        12   responses to them.15 The following month, Chordiant began producing a large number of

                        13   documents – over 33,852 pages of documents that between July 6, 2009 and trial – a total of
                        14   more than 42,200 pages of documents. The produced documents were not segregated by
                        15
                             request number, so Plaintiffs' counsel had to review over 33,000 pages of documents
                        16
                             produced after the July 6, 2009 requests in search of any documents responsive to request
                        17
                             Nos. 16, 17, 18, 22, & 23 -- all of which were reasonably calculated to discover evidence
                        18

                        19   tending to prove or disprove Chordiant's denial of Request for Admission Nos. 19 through

                        20   22. Despite over 27.8 searching for documents supporting the existence of such a license,

                        21   none were there to be found.16
                        22
                                            On June 5, 2009, Chordiant served Plaintiffs with their second set of
                        23
                             document requests. Seven of the 11 requests therein asked for documents relevant to
                        24

                        25

                        26
                             13     Exhibit 12 to Cortés Declaration.
 ANTONIO L. CORTÉS           14     Exhibit 13 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         15     Cortés Declaration at ¶¶ 9 & 10.
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                             16     Cortés Declaration, ¶ 10.
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                        1    Chordiant's claim to have a license to Plaintiffs' Java work.17 Due to Chordiant's denial of
                        2    Request for Admission Nos. 18-22, Plaintiffs' counsel had to review those document
                        3
                             requests and prepare appropriate responses indicating that no such documents existed
                        4
                             because no such licenses existed.18 This consumed at least 3.6 hours of additional attorney
                        5
                             time.19
                        6

                        7                   On August 20, 2009, Plaintiffs noticed the 30(b)(6) deposition of Chordiant.

                        8    Subject No. 14 of that notice was "All facts upon which Chordiant claims to have an
                        9    express or implied license to use, copy, or distribute Netbula's JavaRPC or JRPC software
                        10
                             used by Chordiant in its Chordiant Marketing Director software."20 Chordiant filed written
                        11
                             objections to Subject No. 14, asserting that at least some of the facts upon which it based its
                        12
                             claim to have a license for Netbula's Java works were "protected by the attorney-client
                        13

                        14   privilege" and that inquiries about its Java license claim were "subject to expert analysis

                        15   and discovery or seeks a legal conclusion,"21 increasing the difficulty of discovering the
                        16   basis for its denials of Request Nos. 19-22. Pursuant to the 30(b)(6) notice, Chordiant
                        17
                             produced three witnesses -- Keith Kitchen, Saleem Abdelsayed, and Chris Hellewell.
                        18
                             Plaintiff's counsel was instructed that Mr. Hellewell and Mr. Kitchen were not designated to
                        19
                             testify on topic 14. The remaining designee, Mr. Abdelsayed, was unable to supply any
                        20

                        21   information supporting the existence of such a license, and conceded that Chordiant was

                        22
                             17      Exhibit 14 to Cortés Declaration.
                        23
                             18      Exhibit 15 to Cortés Declaration.
                             19      Cortés Declaration, ¶ 11.
                        24
                             20      Exhibit 16 to Cortés Declaration. Other noticed topics that were also intended to
                        25   discover evidence to prove the matters requested in Request Nos. 19 -22 included: Topic 15
                             ("All internal communications Chordiant Software, Inc. had about Netbula RPC software
                        26   and licensing"), and Topic 16 ("All communications Chordiant Software, Inc. had with
                             Prime Response, Ltd., Chordiant Software International, Ltd., and/or Prime Response, Inc.
 ANTONIO L. CORTÉS
 528 WISTERIA WAY       27   about Netbula RPC software and licensing"). Accordingly, 3 out of 19 topics sought
SAN RAFAEL, CA 94903
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                             evidence concerning Chordiant's denial of Request Nos. 18 to 22.
                             21      Exhibit 17 to Cortés Declaration.
  FAX: (415) 256-1919
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                        1    using an unlicensed version of Netbula's Java product. e.g., Abdelsayed Transcript at
                        2    68:20-69:17; and 78:16-20. Obtaining that evidence from Mr. Abdelsayed consumed at
                        3
                             least another 0.8 hours of attorney time.22 Despite its designee's inability to disclose the
                        4
                             factual basis for a Java license, and despite his confirmation that Chordiant was using an
                        5
                             unlicensed version of Netbula's Java product, Chordiant persisted with its denials of
                        6

                        7    Request for Admission Nos. 18, 19, 20, 21, and 22.

                        8                    On October 2, 2009, Chordiant served Plaintiffs with an 159-page expert
                        9    report from its technical expert, Dr. Faillace. Among his opinions were a number of
                        10
                             opinions bearing on Plaintiffs' licensing practices, their practices in making sample software
                        11
                             available online, and the asserted non-conformity with "industry standards" of Plaintiff's
                        12
                             licensing practices, other matters that appeared carefully calculated to manufacture a
                        13

                        14   position by Chordiant that it had a license to Plaintiffs' works, including especially its Java

                        15   works. Some of those opinions were summarized by Dr. Faillace at ¶¶ 33, 34, 143, 170,
                        16   and 171 of his report.23 Accordingly, and especially in light of Chordiant's 30(b)(6)
                        17
                             objection that the existence of a Java license was a matter that was "subject to expert
                        18
                             analysis,", Plaintiffs' counsel was obliged to spend a significant amount of time, at least 9.8
                        19
                             hours, preparing to depose Dr. Faillace on those subjects, deposing him on those subjects,
                        20

                        21   and moving to exclude his testimony on those subjects after he conceded that his opinions

                        22   regarding license issues were neither the result of any factual inquiry nor within the scope

                        23   of his expertise.24
                        24

                        25

                        26
 ANTONIO L. CORTÉS           22      Cortés Declaration, ¶¶ 12, 13, and 25.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         23      Exhibit 18 to Cortés Declaration.
    (415) 256-1911
                             24      Cortés Declaration, ¶ 15.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1                   Unable to discover any basis for a Java license to Chordiant, in order to
                        2    simplify trial, Plaintiffs moved on November 9, 2009 for summary judgment that Chordiant
                        3
                             had infringed Plaintiff's copyright in their Java products. The evidence submitted with that
                        4
                             motion, at significant time and effort by counsel, was in large part evidence that Chordiant
                        5
                             had no license to Plaintiffs' Java products. Docket 230, at ¶¶ 39-79. Chordiant's
                        6

                        7    Opposition to that motion was primarily based on its assertion that it did have a license to

                        8    copy Plaintiffs' Java products. [Docket 264, at pages 2-8 and 12-16]. As a result of a
                        9    vigorous effort by Chordiant to persuade the Court to leave open the possibility that
                        10
                             Chordiant had a license for the Java works, the Court denied Plaintiffs' motion, ruling that
                        11
                             Chordiant had raised a "triable issue of fact as to whether Defendant Chordiant Software
                        12
                             was licensed to use the [Java] software." December 21, 2009 Order at 4. This left Plaintiffs
                        13

                        14   in the position of having to continue to prepare proof at trial to disprove Chordiant's

                        15   persisting denial of Request for Admission Nos. 18, 19, 20, 21, and 22. Plaintiffs spent 18.1
                        16   hours of attorney time attempting to simplify trial by making that motion.25
                        17
                                            Accordingly, Plaintiffs had no choice but, from January through March
                        18
                             2010, to work to prepare the exhibits and questions for friendly and adverse witnesses
                        19
                             necessary to prove the matters Chordiant failed to admit in its answers to Request for
                        20

                        21   Admission Nos. 18, 19, 20, 21, and 22.

                        22                  On February 20, 2010, in a last effort to simplify trial by excluding the need

                        23   to prove the non-existence of a Java license Plaintiffs knew they had not given and for
                        24
                             which Chordiant could not articulate a factual basis, Plaintiffs tendered the following
                        25

                        26
 ANTONIO L. CORTÉS
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903
    (415) 256-1911
                             25     Cortés Declaration, ¶ 16.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    stipulations to Chordiant which, if agreed to, would have minimized or obviated the need
                        2    for such proof :
                        3
                                                29. JRPC has two parts: (1) an JRPC SDK that consists of computer files
                        4                          that allow licensed programmers to create applications using the
                                                   JRPC standard; and (2) “JRPC runtime software” that consists of
                        5                          files that must be installed to provide the remote call functionality to
                                                   applications developed using the JRPC SDK, including a file called
                        6
                                                   "orpc.jar."
                        7
                                                30. Netbula requires developers to purchase JRPC SDK licenses for the
                        8                           right to develop programs using the JRPC software.

                        9                       31. Netbula requires software developers wishing to distribute Netbula
                                                   JRPC software components (such as “orpc.jar” runtime library) to
                        10                         purchase distribution licenses for the right to distribute such
                        11                         components.

                        12                      32. On January 12, 2000, Prime Response Ltd, a United Kingdom
                                                   company, faxed to Netbula purchase order number 11586, to
                        13                         purchase one (1) “Netbula ONC RPC for Win32 development license
                                                   (ORW32SDK)” and one (1) “Netbula ONC RPC Windows NT/95
                        14                         Limited application distribution license (ORW32DIS)”.
                        15
                                                33. On or about January 14, 2000, Netbula delivered Netbula ONC RPC
                        16                         software to Prime Response Ltd on CD-ROM media, along with
                                                   Netbula invoice number 1572.
                        17
                                                34. The CD-ROM media containing the Netbula ONC RPC software
                        18                         sent to Prime Response Ltd. contains a license.txt file, with blanks to
                                                   be filled in.
                        19
                                                35. Prime Response Ltd. paid Netbula invoice 1572.
                        20

                        21                      36. On May 1, 2001, David Hampton (David.Hampton@chordiant.com),
                                                   sent an email to sales@netbula.com inquiring about “the possibility
                        22                         of purchasing one or more of the Netbula Java RPC licenses.”

                        23                      37. Netbula’s email response to David Hampton was returned as
                                                   undeliverable.26
                        24
                                            Chordiant declined to agree to those proposed stipulations, indicating its
                        25

                        26   intent to persist with its denial of the matters requested in Request for Admission Nos. 18,
 ANTONIO L. CORTÉS
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903
    (415) 256-1911
                             26     Exhibit 19 to Cortés Declaration.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    19, 20, 21, and 22.27 Further, in Chordiant's statement of "Matters Which Remain to Be
                        2    Decided" in the Joint Pretrial Conference Statement, it responded to Plaintiffs' statement of
                        3
                             infringement with Chordiant's statement that "Chordiant asserts that it had express or
                        4
                             implied licenses," without exclusion of Plaintiffs' Java work. [Docket 384, page 1]. In this
                        5
                             context, it remained neither reasonable nor competent for Plaintiffs to discontinue their
                        6

                        7    ongoing efforts to prepare to prove at trial that Chordiant did not have a license for

                        8    Plaintiff's Java works.
                        9                   Accordingly, Plaintiffs continued with their preparations to prove the matters
                        10
                             Chordiant failed to admit in response Request for Admission Nos. 18, 19, 20, 21, and 22
                        11
                             right up until the commencement of trial, and came to trial April 27, 2010 prepared to do so
                        12
                             as a result of an expenditure of at least another 7.5 attorney hours.28
                        13

                        14                  On that first day of trial, however, Chordiant suddenly conceded that it did

                        15   not have any license for Plaintiffs' Java works:
                        16                      THE COURT: . . . SO . . . THE CLAIM BY THE PLAINTIFF IS
                        17                      THAT THE DEFENDANT COPIED THE JAVA PRODUCT?

                        18                      MR. CORTES: YES.

                        19                      THE COURT: STARTING IN 2001?

                        20                      MR. CORTES: YES.

                        21                      THE COURT: AND SO THAT'S A PURE COPYRIGHT
                                                INFRINGEMENT CLAIM BECAUSE IT HAD NO LICENSE TO USE
                        22                      JAVA.
                        23
                                                MR. CORTES: THAT'S CORRECT.
                        24
                                                THE COURT: AND YOU AGREE I'VE CHARACTERIZED THE
                        25                      ISSUE?

                        26
 ANTONIO L. CORTÉS
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         27     Cortés Declaration.¶ 18.
    (415) 256-1911
                             28     Cortés Declaration ¶ 18, Shimamoto Declaration ¶ 7a.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1                        MR. PULGRAM: WE AGREE WITH THAT CHARACTERIZATION
                                                 OF THE ISSUE.
                        2
                             April 27, 2010 Daily Transcript at 21:11 - 22: 7.29 Accordingly, at that moment, Plaintiffs
                        3

                        4    succeeded in proving the matters it had asked Chordiant to admit in Request Nos. 18, 19,

                        5    20, 21, and 22 on June 1, 2009, and which Chordiant had until then refused to admit.
                        6                   All the foregoing efforts to obtain and marshal proof for trial that Chordiant
                        7
                             did not have any license to use or copy the Netbula Java products caused Plaintiffs to
                        8
                             expend a very significant amount of attorney time. Accordingly, Plaintiffs move pursuant
                        9
                             to F. R. Civ. Proc. Rule 37(c)(2) that the Court award them their "reasonable expenses,
                        10

                        11   including attorneys' fees, incurred in making that proof," in the amount of $38,335 (69.7

                        12   hours at $550/hour30). In addition, the foregoing caused Plaintiffs to pay $1032.28 in
                        13   expenses not taxable under L-R 54-3.31
                        14
                                            To the extent the Court might find itself for any reason unable to award
                        15
                             those amounts under Rule 37(c)(2), Plaintiffs ask the Court to make that award pursuant to
                        16
                             28 U.S.C. § 1927, F. R. Civ. Proc. Rule 11(c), and/or F. R. Civ. Proc. Rule 26(g)(1)(B).
                        17

                        18   Otherwise, Plaintiffs would be denied relief for the very large, unnecessary, and unfair

                        19   expense Chordiant forced them to incur by denying requests for admission when it had no

                        20   reasonably-assertable evidence to support its doing so, then admitting the matter at the very
                        21
                             last moment to avoid the embarrassment of Jury scrutiny of its purported reasons for those
                        22
                             denials.
                        23
                                            2.     Chordiant's Failure to Admit Request Nos. 72 & 73.
                        24

                        25

                        26
 ANTONIO L. CORTÉS           29     Exhibit 20 to Cortés Declaration
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         30     Cortés Declaration ¶ 21, Shimamoto Declaration ¶ 5.
    (415) 256-1911
                             31     Cortés Declaration ¶ 34 and Exhibit 28 thereto.
  FAX: (415) 256-1919
                        28
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1                   On September 9, 2009, Dr. Yue served Chordiant with his Request for
                        2    Admission No. 72, asking Chordiant to "Admit that developers employed by Ness
                        3
                             Technologies copied and used the Netbula ONC RPC that CSI shipped to Ness
                        4
                             Technologies" and his Request for Admission No. 73, asking Chordiant to "Admit that
                        5
                             developers employed by Ness Technologies copied and used the Netbula JRPC that CSI
                        6

                        7    shipped to Ness Technologies 32 On October 29, 2009, Chordiant denied those requests.33

                        8    Plaintiffs were only able to prove the falsity of those denials at trial, which required intense
                        9    document review culminating in the trial testimony of Todd Trimble and Oliver Wilson,
                        10
                             and extensive preparation for taking Mr. Wilson's adverse testimony on this critical fact.
                        11
                                             Scattered among the over 42,000 pages of documents Chordiant produced
                        12
                             were seven emails by which Chordiant and Ness personnel transmitted the Netbula ONC
                        13

                        14   RPC developers kit among them as email attachments and various documents showing that

                        15   Ness copied and used Netbula's ONC RPC.34 To determine the nature of the attachments
                        16   required the examination of hundreds of native format documents that included those
                        17
                             attachments to identify which were Netbula's ONC RPC. The review required to ferret out
                        18
                             those seven emails from Chordiant's 42,000+ page production, and the examination of the
                        19
                             hundreds of native format documents to determine the nature of the attachments to those
                        20

                        21   seven emails (and the much greater number of emails to and between Ness employees

                        22   conveying attachments that turned out to not be Netbula's ONC RPC), necessarily

                        23   consumed over 51 attorney hours.35 The fact that Plaintiffs had those emails at all was
                        24

                        25

                        26
                             32     Exhibit 22 to Cortés Declaration.
 ANTONIO L. CORTÉS           33     Exhibit 23 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         34     Cortés Declaration, ¶ 28
    (415) 256-1911
                             35     Cortés Declaration, ¶¶ 28-29.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    brought about by the 0.6 attorney hours36 spent preparing those of Plaintiffs' requests for
                        2    production of documents that required production of the emails showing transmission of
                        3
                             Netbula ONC RPC to Ness.37 In addition to those document requests and the review of the
                        4
                             documents produced as a result of those requests, Plaintiffs' reasonable efforts to make this
                        5
                             proof included a approximately 16% of the 8 hours spent on the deposition of Saleem
                        6

                        7    Abdelsayed, or 1.3 additional attorney hours on this issue. (Abdelsayed transcript at 21:12-

                        8    23:19; 26:8-27:22; 29:15-33:1; 40:11-41:9; 57:12-58:11; 59:7-60:16; 72:14-79:8; 87:18-
                        9    88:3; 90:15-99:8; 124:7-16; and 125:17-127:6).38
                        10
                                            Because Mr. Wilson's testimony was adverse and could not be counted on
                        11
                             with complete confidence, Plaintiffs reasonably incurred expenses of $533.80 for airfare,
                        12
                             and $371.52 for hotel charges to transport Mr. Trimble, who lives in Massachusetts, to trial.
                        13

                        14   Eighty percent of those expenses should be attributed to proving the matter denied in

                        15   response to Request Nos. 72 & 73.39 Three hours40 of pretrial attorney time was needed to
                        16   obtain his trial testimony. At trial, Mr. Trimble did indeed testify that the developers
                        17
                             employed by Ness Technologies used the Netbula ONC RPC developer kit. [Daily
                        18
                             Transcript at 617:2-12] He further testified that, as an employee of Chordiant Software
                        19

                        20
                             36      Cortés Declaration, ¶ 29
                        21
                             37      e.g. Request No. 14 ("All communications about POWERRPC SOFTWARE,
                        22   including but not limited communications regarding the use of POWERRPC SOFTWARE
                             in product development and licensing"); Request No. 28 ("All communications between any
                        23   two or more CSI employees, contractors, or officers regarding JRPC"); Request No. 29 ("All
                             communications between any CSI employee, contractor, or officer and any third party
                        24   regarding JRPC"); Request No. 31 ("All internal documents that discuss or mention JRPC at
                             any time prior to June 1, 2009"); and Request No. 36 ("All documents concerning the
                        25   development of RELEVANT CHORDIANT SOFTWARE, including but not limited to the
                             project plans, product designs, feature requests, task allocations, worksheets, timesheets,
                        26   project management documents, bug reports, testing logs, debugging and other records of
                             RELEVANT CHORDIANT SOFTWARE"), see also Cortés Declaration ¶ 29.
 ANTONIO L. CORTÉS           38      Exhibit 25 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         39      Cortés Declaration ¶ 30.
    (415) 256-1911
                             40      Cortés Declaration ¶ 30, Shimamoto Declaration ¶ 7.c.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    Inc., he had himself shipped the Netbula ONC RPC developer kit to Ness in India. [Daily
                        2    Transcript at 618:6-24].
                        3
                                             Because only one of the emails transmitting Netbula ONC RPC to Ness was
                        4
                             authored by Mr. Trimble, and because Mr. Wilson was privy to two such email strings, it
                        5
                             was also reasonably necessary to undertake the extensive preparation necessary to
                        6

                        7    successfully gain trial admissions from Mr. Wilson that he had also transmitted Netbula

                        8    ONC RPC to Ness developers, which Mr. Wilson was forced to admit when confronted
                        9    with the documentary evidence of that fact, denied by Chordiant in response to Request
                        10
                             Nos. 72 & 73. [Daily Transcript at 618:6-24] Counsel spent not less than 4.0 hours
                        11
                             preparing to take Mr. Wilson's testimony on this critical subject,41 and questioned him about
                        12
                             it at length at trial for an estimated 0.4 of an hour.
                        13

                        14                   For these reasons, Plaintiffs expended not less than 60.9 hours of attorney

                        15   time ($33,495) and $724.26 of Mr. Trimble's travel expenses to ultimately prove at trial that
                        16   Ness developers did indeed use and copy Netbula OCN RPC and Netbula JRPC that CSI
                        17
                             made available to them, in direct contradiction of Chordiant's unwarranted denials. In
                        18
                             addition, the foregoing caused Plaintiffs to pay $80.60 in other expenses not taxable under
                        19
                             L-R 54-3.42
                        20

                        21                   3.      Chordiant's Failure to Admit Request No. 64.

                        22                   On September 9, 2009, Dr. Yue served Chordiant with his Request for

                        23   Admission No. 64, asking Chordiant to "Admit that Todd Trimble was a developer for the
                        24
                             CMD product."43 On October 29, 2009, Chordiant denied that request.44
                        25

                        26
                             41      Cortés Declaration, ¶ 31.
 ANTONIO L. CORTÉS           42      Cortés Declaration at ¶ 34 and Exhibit 28 thereto.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         43      Exhibit 22 to Cortés Declaration.
    (415) 256-1911
                             44      Exhibit 23 to Cortés Declaration.
  FAX: (415) 256-1919
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1                   Plaintiffs took reasonable steps during discovery to gain information on the
                        2    matter denied, including asking about Mr. Trimble's work for Chordiant during the 30(b)(6)
                        3
                             deposition of Chordiant. Mr. Hellewell did not know anything about Mr. Trimble
                        4
                             (Hellewell Tr. at 77:4-5).45 Mr. Abdelsayed contradicted Chordiant's denial during his
                        5
                             deposition (Abdelsayed Tr. at 27:23-28:19),46 but he did so two days prior to Chordiant's
                        6

                        7    denial of that matter, and the fact of the denial meant that Plaintiffs had to proceed with

                        8    their proof. About 0.2 attorney hours were consumed obtaining that testimony from Mr.
                        9    Hellewell and Mr. Abdelsayed.47 In further preparation to prove the denied matter at trial,
                        10
                             Plaintiffs expended about 0.1 hour of attorney time48 on a Document Request No. 40, which
                        11
                             sought "Documents sufficient to show every position the following persons have held in
                        12
                             Chordiant and/or any of its affiliates, and the dates each such person held each such
                        13

                        14   position: . . . Todd Trimble . . .,"49 and about 1.5 hours in searching for responsive

                        15   documents in those Chordiant produced.50
                        16                  Plaintiffs spent another 3.4 hours of attorney time and $181.06 of his travel
                        17
                             expenses attributable to preparing for Mr. Trimble's testimony on this subject at trial, in
                        18
                             arranging for his appearance at trial, and in questioning him at trial.51 Accordingly,
                        19
                             Plaintiffs spent a total of 5.2 hours of attorney time ($2860) and $181.0.6 in expenses in
                        20

                        21   disproving Chordiant's needless and unsupportable denial of Request No. 64.

                        22                  4.      Chordiant's Failure to Admit Request Nos. 87 and 88.

                        23

                        24
                             45     Exhibit 24 to Cortés Declaration.
                        25
                             46     Exhibit 25 to Cortés Declaration.
                             47     Cortés Declaration ¶¶ 24 & 25.
                        26
                             48     Cortés Declaration ¶ 26.
 ANTONIO L. CORTÉS           49     Exhibit 26 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         50     Cortés Declaration ¶ 28.
    (415) 256-1911
                             51     Cortes Declaration ¶ 30, Shimamoto Declaration ¶ 7.d.
  FAX: (415) 256-1919
                        28
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1                      On September 9, 2009, Dr. Yue served Chordiant with his Request for
                        2    Admission No. 87, asking Chordiant to "Admit that CSI never paid Netbula, LLC any
                        3
                             money for the right to use Netbula software for developing commercial applications," and
                        4
                             his Request for Admission No. 88, asking Chordiant to "Admit that CSI never paid Netbula
                        5
                             any money for the right to distribute any Netbula software."52 On October 29, 2009,
                        6

                        7    Chordiant denied both of those requests.53 After reasonable preparation, Plaintiffs were

                        8    able to prove the falsity of those denials at trial, through the testimony of Dr. Yue showing
                        9    the complete transaction history and source of funds (Daily Transcript at 245:20-264:19 &
                        10
                             271:10-274:11), the testimony of Mr. Kitchen admitting Chordiant Software International,
                        11
                             Ltd was a separate company (Daily Transcript at 771:21-25 & 782:13-16), and the
                        12
                             admission of the documentary evidence showing Chordiant Software International, Ltd to
                        13

                        14   be the source of the only funds that were paid Netbula in 2004 (Exhibit 1190). Trial

                        15   presentation of that evidence consumed 1.5 hours of attorney time, including preparation
                        16   and delivery.54
                        17
                                               In addition, Plaintiffs had to discover the evidence ultimately presented at
                        18
                             trial. To do so, Plaintiffs were obliged to search for and find the documents they needed to
                        19
                             do so, and to produce them to Chordiant in response to Chordiant Document Request Nos.
                        20

                        21   24 and 25. Those documents included the original purchase orders from Prime Response,

                        22   Ltd. and Chordiant Software International, Ltd, the Netbula invoices to those entities, and

                        23   bank records showing the 2004 payment being made by Chordiant Software International,
                        24
                             Ltd. These tasks, and adding relevant documents to Plaintiffs' exhibit list, consumed not
                        25

                        26
 ANTONIO L. CORTÉS           52     Exhibit 22 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         53     Exhibit 23 to Cortés Declaration.
    (415) 256-1911
                             54     Shimamoto Declaration ¶ 7.e.
  FAX: (415) 256-1919
                        28
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                        1    less than 2.4 hours of attorney time.55 In addition to those document requests and the
                        2    review of the documents produced as a result of those requests, Plaintiffs' reasonable efforts
                        3
                             to make this proof included a approximately 16% of the 6.9 attorney hours expended on the
                        4
                             deposition of Keith Kitchen (Kitchen Transcript at 11:23-12:22, 17:11-13, 55:5-56:16,
                        5
                             59:22-62:10, 72:8-74:17, and 85:23-88:7),56 11% of the 8.0 attorney hours expended on the
                        6

                        7    deposition of Saleem Abdelsayed (Abdelsayed transcript at 127:8-131:17 and 136:8-

                        8    142:17),57 approximately 3% of the 11.6 attorney hours expended on the deposition of Mr.
                        9    Hellewell (Hellewell transcript at 22:4-25, 24:6-8, 55:22-56:8, 56:12-57:8, 102:20-103:3,
                        10
                             103:10-12),58 and approximately 1.5% of the 15.5 attorney hours expended on the
                        11
                             deposition of Matthew Lynde . (Lynde Transcript, at 104:18-106:1),59 an additional 2.5
                        12
                             attorney hours, for a total of 4.9 hours spent to discover the evidence ultimately presented at
                        13

                        14   trial.

                        15                   In sum, Plaintiffs spent 6.4 hours of attorney time ($3,520) preparing to
                        16   prove and successfully proving the incorrectness of Chordiant's denial of Plaintiffs' requests
                        17
                             that it never paid Netbula any money at all to use Netbula's products. In addition, the
                        18
                             foregoing caused Plaintiffs to pay $139.34 in expenses not taxable under L-R 54-3.60
                        19
                                             5.     Chordiant's Failure to Admit Request Nos. 97, 98, and 99.
                        20

                        21                   On September 9, 2009, Dr. Yue served Chordiant with his Request for

                        22   Admission No. 97, asking Chordiant to "Admit that CSI did not restrict the number of

                        23   copies its licensees could make of CMD client," his Request for Admission No. 98, asking
                        24

                        25
                             55       Cortés Declaration ¶ 33.
                             56       Cortés Declaration ¶ 27 and Exhibit 27 thereto.
                        26
                             57       Cortés Declaration ¶ 25 and Exhibit 25 thereto.
 ANTONIO L. CORTÉS           58       Cortés Declaration ¶ 24 and Exhibit 24 thereto.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         59       Cortés Declaration ¶ 36 and Exhibit 29 thereto.
    (415) 256-1911
                             60       Cortés Declaration ¶ 34 and Exhibit 28 thereto.
  FAX: (415) 256-1919
                        28
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    Chordiant to "Admit that CSI did not restrict the number copies its CMD licensees could
                        2    make of CMD server," and his Request for Admission No. 99, asking Chordiant to "Admit
                        3
                             that CSI did not restrict the number computers onto which CMD licensees could install
                        4
                             CMD server or client."61 On October 29, 2009, Chordiant denied all three of those
                        5
                             requests.62 Plaintiffs were only able to prove the falsity of that denial at trial, through the
                        6

                        7    review of thousands of pages of license documents produced by Chordiant, by propounding

                        8    and successfully moving to compel adequate responses to Interrogatory Nos. 6 and 18, by
                        9    coming to trial prepared to seek admission of the trial exhibits identifying the licenses
                        10
                             granting unlimited license rights, by taking the depositions of Chris Hellewell and Saleem
                        11
                             Abdelsayed (Hellewell Deposition at 42:16-44:14,63 Abdelsayed Deposition at 157:6-
                        12
                             158:2064), by taking Mr. Hellewell's adverse testimony on that point at trial (Daily
                        13

                        14   Transcript at 747:25-749:18), by taking Mr. Abdelsayed's adverse testimony on that point

                        15   at trial (Daily Transcript at 632:1-638:2), by offering Dr. Yue's testimony on that point at
                        16   trial (Daily Transcript at 259:1-8, 293:22-294:2), and by introducing into evidence Exhibit
                        17
                             1334, one of the Chordiant Marketing Director license allowing an unlimited number of
                        18
                             client and server installations.
                        19
                                             The preparation to take that trial testimony took 29.1 attorney hours.65 The
                        20

                        21   actual taking of the relevant portions of Mr. Hellewell's and Mr. Abdelsayed's trial

                        22   testimony consumed 0.2 attorney hours.66 In sum, 29.3 hours of attorney time ($16,115)

                        23   were expended to prove the matter denied in Chordiant's response to Request for Admission
                        24

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                             61      Exhibit 22 to Cortés Declaration.
                             62      Exhibit 23 to Cortés Declaration.
                        26
                             63      Exhibit 24 to Cortés Declaration.
 ANTONIO L. CORTÉS           64      Exhibit 25 to Cortés Declaration.
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903         65      Cortés Declaration at ¶¶ 24, 25, & 28, Shimamoto Declaration ¶ 7.b.
    (415) 256-1911
                             66      Cortés Declaration at ¶¶ 24 & 25.
  FAX: (415) 256-1919
                        28
                             _______________________________________________________________________
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
                             Case 5:08-cv-00019-JW Document 501 Filed 06/09/10 Page 24 of 25



                        1    Nos. 97, 98, and 99. In addition, the foregoing caused Plaintiffs to pay $1058.84 in
                        2    expenses not taxable under L-R 54-3.67
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                                    D.      The Cost of Preparing This Motion.
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                                            Counsel spent well over 45 hours preparing this motion. If Chordiant had
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                             admitted the matters it concerns, this motion would have been as unnecessary as the proof
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                        7    of the true matters it denied, and fairness requires that Plaintiffs be compensated for those

                        8    hours. While Rule 37(c)(2) does not expressly provide for such compensation, the Court
                        9    has inherent power to award them when it appears that the denials that made the motion
                        10
                             necessary were posed for an "inappropriate motive." House v. Giant of Maryland, 232
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                             F.R.D. 257, 262 (D. Md. 2005) ("every court possesses the inherent power to impose
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                             sanctions "when a party has 'acted in bad faith, vexatiously, wantonly, or for oppressive
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                        14   reasons.'"). Here, Chordiant had to have known it did not have a Java license because

                        15   neither it nor Chordiant International had never paid for one. Here, it freshly denied that it
                        16   had no license just days after its 30(b)(6) designee on that subject conceded that he knew
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                             nothing of a such a license and that he was aware of Chordiant's use of an unlicensed
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                             version. Here, Chordiant appears to have been intending to have its technical expert assert
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                             opinions outside his expertise that would allow Chordiant to assert it had a license it knew it
                        20

                        21   did not have. In that context, Plaintiffs believe that such an exercise of the Court's inherent

                        22   authority may be appropriate.

                        23                                          CONCLUSION
                        24
                                            For the foregoing reasons, Plaintiffs most respectfully request this honorable
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                             Court to issue an order requiring Chordiant to pay them $3,216.38 for expenses and
                        26
 ANTONIO L. CORTÉS
 528 WISTERIA WAY       27
SAN RAFAEL, CA 94903
    (415) 256-1911
                             67     Cortés Declaration at ¶ 34 and Exhibit 28 thereto.
  FAX: (415) 256-1919
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                             _______________________________________________________________________
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
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                        1    $94,235 for attorneys' fees pursuant to F. R. Civ. Proc. Rule 37(c), or, to the extent that
                        2    relief cannot be granted under that rule, pursuant to F. R. Civ. Proc. Rule 11(c), 28 U.S.C. §
                        3
                             1927, and/or F. R. Civ. Proc. Rule 26(g).
                        4
                                            Respectfully submitted,
                        5
                             DATED: June 9, 2010
                        6

                        7                                                  ______________/s/______________
                                                                           Antonio L. Cortes,
                        8                                                  Counsel for Plaintiffs
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 ANTONIO L. CORTÉS
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SAN RAFAEL, CA 94903
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                        28
                             _______________________________________________________________________
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                             NOTICE AND MOTION FOR EXPENSES AND ATTORNEYS' FEES (Rule 37(c)
